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                                                                           FILED
                                                                  U.S. MAGISTRATE JUDGE
1 JASON M. FRIERSON
  United States Attorney                                                October 27, 2023
                                                                  DATE:__________________
2 Nevada Bar No. 7709
  JACOB H. OPERSKALSKI                                                   12:00 p.m.
3 Assistant United States Attorney                                TIME:___________________
  Nevada Bar No. 14746
4 501 Las Vegas Boulevard South, Suite 1100
  Las Vegas, Nevada 89101
5 Telephone: (702) 388-5063
  Email: Jacob.Operskalski@usdoj.gov
6 Representing the United States ofAmen"ca

7
                                  UNITED STATES DISTRICT COURT
 8                                     DISTRICT OF NEVADA

 9


     UNITED STATES OF AMERICA,                            AMENDED CRIMINAL COMPLAINT
11
                          Plaintiff,                      Case No.: 2:23-mj-00931-EJY
12
     vs.                                                  Violation:
13
     JOHN ANTHONY MILLER                                  Count One
14
                          Defendant.                      18 U.S.C. § 115(a)(l )(B) Threatening a Federal
15                                                        Official

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           BEFORE the United States Magistrate Judge, Las Vegas, Nevada, the undersigned
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     complainant, being duly sworn, deposes and states:
20
                                              COUNT ONE
21
           That on or about October 17, 2023, in the District of Nevada,
22
                                       JOHN ANTHONY MILLER,
23
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1    the defendant herein, unlawfully, willfully, and knowingly, threatened to assault, kidnap, or murder

2    a United States official with intent to impede, intimidate, or interfere with such official while

3    engaged in the performance of official duties, or with intent to retaliate against such official on

4    account of the performance of official duties in violation of Title 18, United States Code, Section

5    l 15(a)(l )(B).

6            Complainant, Special Agent Erin Sweeney, states the following as and for probable cause:

7                              INTRODUCTION AND AGENT BACKGROUND

8                      I am a Special Agent with the Federal Bureau oflnvestigation ("FBI") Las Vegas Field

9    Office, where I have served since July 2023. I am currently assigned to the Domestic Terrorism and

10   Weapons of Mass Destruction Squad within the Joint Terrorism Task Force in Las Vegas, Nevada. I

11   have completed hundreds of hours of training in numerous areas of law enforcement investigation

12   and techniques. In the course of my employment as a Special Agent with the FBI, I have received

13   training regarding the application for and execution of both search and arrest warrants. I have received

14   training in assessing and managing individuals who have communicated threats and engaged in

15   behaviors associated with targeted violence.

16           2.        This affidavit is made in support of a criminal complaint charging John Anthony

17   MILLER (hereinafter "MILLER") with a violation of Title 18, United States Code, Section

18   115(a)( l )(B). Title 18, United States Code, Section 115(a)( l )(B) makes it a crime to threaten to assault,

19   kidnap, or murder a United States official with intent to impede, intimidate, or interfere with such

20   official while engaged in the performance of official duties, or with intent to retaliate against such

21   official on account of the performance of official duties.

22           3.        The facts and information contained in this affidavit are based upon my direct

23   participation in this investigation and based upon facts as relayed to me by other law enforcement



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 1   officers pertaining to this investigation. This affidavit is submitted for the limited purpose of

2    establishing probable cause for the charged offense. As a result, I have not included each and every

3    fact known to me regarding this matter.

4                                         PROBABLE CAUSE

5           4.       Between October 11, 2023, and October 19, 2023, the office of a U nited States Senator

6    ("U.S. Senator l ") received numerous calls and voicemails from the following number: 951-269-5196.

 7   That number appeared on the caller-identification system of U.S. Senator 1 as the incoming call

8    number.
9           5.       On or about October 17, 2023, the same number, 951-269-5196, left numerous

IO   voicemails at the office of U.S. Senator 1. The caller made the following statements:

11               •   "All these fucking lies is in your fucking hands, you fucking bitch, and I'm gonna
12                   fucking see you soon, you fucking sellout fucking faggot bitch."
13
                 •   "You just fucking woken up a motherfucking monster, you fucking piece of shit un­
14
                     human, subhuman, you're vermin, bitch, you are vermin, bitch, and we're gonna finish
15
                     what Hitler started you fucking slut."
16
                 •   "You done picked your side bitch and you done chose evil. I don't give a fuck if you
17
                     were born into it or not, bitch, you are fucking evil, bitch and we're gonna exterminate
18
                     you, fuck."
19
            6.       On or about October 19, the same number, 951-269-5196, left more voicemails at the
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     office of U.S. Senator 1. In one voicemail, the caller identified as John MILLER and made the
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     following statements:
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1                • "I wanted uh-uh know if-if my senator had any family members that Israeli settlers

2                   because if she did, I'm pre- I'm pretty sure she would, she would uh not make it illegal
3                   for these savage Israeli settlers to come back and - 450 thousand of 'em are American
4                   and are able to co-commit war crimes and come back and forth back and forth. Huh?
 5                  Yeah I-I-I pretty sure she is. Pretty sure she is. And she ain't gon do a damn thing. She
6                   lets her own family members kill these Pe-Palestinians in the West Bank. The Christians
7                   in the West Bank. Senator I'm sorry to say, but ya know what, you're a piece of shit
 8                  and you're gonna burn in fucking hell for your fucking crimes. You think you-you- don' -
 9                  you're not fucking complicit, bitch? You're gonna burn in hell, bitch, and me and Jesus

                    are gonna piss on you, bitch."
11          7.      On October 18, 2023, at approximately 9:00 AM (PD T), an individual arrived at the

12   Lloyd D. George Courthouse at 333 S. Las Vegas Boulevard, Las Vegas, Nevada, 89101, and stated

13   that he was going to see U.S. Senator 1. The individual showed a Court Security Officer ("CSO") an

14   identification card that showed that his last name was "Miller." 1 The CSO asked for a closer look at

15   the identification, and the individual refused to comply. The individual was refused entry into the

16   courthouse. . After being refused entry, the individual became agitated and started yelling and shouting

17   profanities, including "To kill every last Israeli terror-fucking-rist" while walking on Las Vegas

18   Boulevard.2

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     1
21     Your affiant previously stated that the individual refused to show identification, but stated his last
     name was Miller. After reviewing the report prepared by the CSO and speaking to him, your affiant
22   realized that statement was incorrect and now seeks to correct it as described above.
     2
       Your affiant previously stated that the individual stated, "Let's kill every last Israeli terror-fucking-
23   rist." After additional review of the video and audio and after speaking to the witness, your affiant
     realized the individual stated, "To kill every last Israeli terror-fucking-rist."


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 1          8.    Below is a screenshot of a video taken of MILLER on Las Vegas Boulevard on October
2    18, 2023:

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13          9.    Below is a photo of MILLER taken following an arrest in May of 2022. The individual

14   appears to be the same man who is pictured above on Las Vegas Boulevard.

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1         . 10.    On October 20, 2023, your affiant reviewed subscriber information for telephone

2    number, 951-269-5196. T-Mobile subscriber records for telephone number 951-269-5196 identify John

3    MILLER as the subscriber. The address listed for MILLER is in Las Vegas, Nevada.

4           11.    The Las Vegas Metropolitan Police Department provided prior 9-1-1 calls recorded

5    from 951-269-5196. I have reviewed those recordings. In at least two calls, the caller identifies as John

6    MILLER and provides 951-269-5196 as his contact number.

 7          12.    On or about October 24, 3 2023, the offi<1:e of U.S. Senator 1 received more voicemails,

8    this time from an unidentified number. The voice and pattern of speech matched that of MILLER's

9    prior voicemails. In one voicemail, the caller stated, "Watch, bitch, you're whole fucking family's in

10   danger, bitch."

11          13.    These facts support the conclusion that John Anthony MILLER called the office of

12   U.S. Senator 1 and made threats to assault or murder U.S. Senator 1 with intent to impede, intimidate,

13   or interfere with such official while engaged in the performance of official duties, or with intent to

14   retaliate against such official on account of the performance of official duties.

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      The voicemail was left in the early morning hours of October 25, 2023, Eastern Standard Time,
     but still in the late hours of October 24 on Pacific Standard Time.


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1                                         CONCLUSION

2           14.    Based on the foregoing, I respectfully submit that there is probable cause to believe

3    that MILLER did threaten a United States Official with intent to impede, intimidate, or interfere

4    with the official while engaged in the performance of official duties, or with intent to retaliate

5    against such official on account of the performance of official duties, in violation of Title 18,

6    United States Code, Section l 15(a)( l )(B).

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     Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1 by
11                     27th day of October, 2023.
     telephone on this __
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14   HONORABLE ELAYNA J. YOUCHAH
     UNITED STATES MAGISTRATE JUDGE
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